                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF FLORIDA
                              ORLANDO DIVISION

TELEDYNE INSTRUMENTS, INC.,

                Plaintiff,

vs.
                                        Case No.: 6:12-cv-00854-JA-TBS
JAMES L. CAIRNS and
ABYSSAL SYSTEMS, INC.,

                Defendants.


                                 Exhibit 4
DeForest Koscelnik Yokitis Skinner & Berardinelli                                                                                      PITTSBURGH
                                                                                                                                               th
                                                                                                                           Koppers Building, 30 Floor
                                                                                                                                436 Seventh Avenue
                                                                                                                               Pittsburgh, PA 15219
Attorneys at Law                                                                                                               Phone: 412-227-3100
                                                                                                                               Fax:     412-227-3130


                                                                                                                                     LOS ANGELES
Walter P. DeForest                                                                                                    21600 Oxnard Street, Suite 1760
Direct Dial: 412-227-3101                                                                                                  Woodland Hills, CA 91367
Email: deforest@deforestlawfirm.com                                                                                            Phone: 818-710-7700
Reply to PITTSBURGH                                                                                                            Fax:    818-710-7701


                                                                April 22, 2013

Via Email

Wesley O. Mueller
Leydig, Voit & Mayer, Ltd.
Two Prudential Plaza, Ste. 4900
Chicago, IL 60601

           RE:         Teledyne Instruments, Inc. v. James L. Cairns, et al.
                       Case No. 6:12-cv-854-JA-TBS

Dear	  Wesley:	  

	        Your	  letter	  regarding	  Teledyne	  Instruments,	  Inc.’s	  Answers	  to	  Defendants	  James	  L.	  
Cairns’	  and	  Abyssal	  Systems,	  Inc.’s	  First	  Set	  of	  Interrogatories	  is	  incorrect.	  	  	  In	  answering	  
Interrogatory	  Nos.	  1	  and	  2,	  we	  utilized	  the	  definitions	  of	  “Alleged	  Confidential	  Information”	  
and	  “Alleged	  Trade	  Secrets”	  that	  are	  set	  forth	  in	  the	  definitions	  section	  of	  your	  
Interrogatories.	  	  Those	  definitions	  are	  as	  follows:	  

	            “E.	  	   ‘Alleged	  Confidential	  Information’	  means	  the	  purported	  confidential	  information	  
	            that	  Teledyne	  claims	  was	  misappropriated	  or	  otherwise	  misused	  by	  Dr.	  Cairns,	  Abyssal,	  
	            or	  any	  past	  or	  present	  agent	  or	  employee	  of	  Abyssal.”	  
	  
	            “F.	  	     ‘Alleged	  Trade	  Secrets’	  means	  any	  purported	  trade	  secrets	  that	  Teledyne	  claims	  
	            were	  misappropriated	  or	  otherwise	  misused	  by	  Dr.	  Cairns,	  Abyssal	  Systems,	  or	  any	  past	  
	            or	  present	  agent	  or	  employee	  of	  Abyssal	  Systems,	  Inc.”	  
	  	  
	            It	  is	  quite	  clear	  from	  your	  own	  definitions	  that	  you	  did	  not	  request	  what	  is	  set	  forth	  
in	  the	  third	  paragraph	  of	  your	  letter,	  i.e.:	  

           “to	  identify	  specifically	  all	  information	  in	  its	  possession	  that	  it	  considers	  to	  be	  
           ‘confidential	  information’	  or	  ‘trade	  secrets.’	  (Again,	  limited	  to	  the	  subject	  
           matter	  of	  this	  case,	  of	  course,	  undersea	  connect	  devices.)	  Please	  note	  that	  the	  
           interrogatory	  is	  not	  limited	  to	  information	  in	  Dr.	  Cairns’	  possession.”	  	  

	     Moreover,	  if	  you	  were	  to	  make	  such	  a	  request	  in	  the	  future,	  it	  would	  be	  highly	  
objectionable.	  	  	  
  DeForest Koscelnik Yokitis Skinner & Berardinelli


Wesley O. Mueller, Esq.
April 22, 2013
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	        I	  will	  be	  in	  two	  depositions	  and	  deposition	  preparation	  between	  them	  tomorrow;	  
however,	  I	  would	  be	  available	  to	  discuss	  this	  matter	  further	  with	  you	  on	  Wednesday,	  April	  
24,	  2013,	  at	  11:00	  a.m.	  
                                                              Very truly yours,

                                                              DeFOREST KOSCELNIK YOKITIS
                                                              SKINNER & BERARDINELLI




                                                              By
                                                                   Walter P. DeForest

WPD:sb
cc:  F. Bradley Hassell, Esq.
     H. Michael Hartmann, Esq.
     Robert Alfert, Jr., Esq.
	   Marie	  A.	  DeForest,	  Esq.	  
